Case 2:05-cr-20182-STA Document 14 Filed 06/03/05 Page 1 of 2 Page|D 13

IN THE UNITED sTATEs DISTRICT CoURT F"£D B'i' % e.r:.
FoR THE WEsTERN DISTRICT oF TENNESSEE
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UNITED sTATEs oF AMERICA i%“`,ll§?: [‘i~'¢§,' H§§F§¢TS
V.
ANTHONY TURLEY 05cr20182-D
ORDER ON ARRAIGNMENT
This cause came to be heard on OL?'O\ '05 the United States Attomey

 

for this district appeared on behalf of the government, and the defendant appeared in person and with
counsel:

NAME ED |UE|Cf-"i FU|L '\)E-D (pE@mAM`I who is Retained/Appointed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, Who is not in custody, may stand on his present bond.
v The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to l§RA of 1984), is remanded to the custody

of the U.S. Mar§hal.
_..S". TMA: 6 Z¢_ég

UNITED STATES MAGISTRATE ]UDGE

 

CHARGES: felon in possession of firearm - 18:922(g)
Attorney assigned to Case: G. Gilluly

Age: 35

This doct ment entered on the docket sheet in compliance
with R.\ie 55 and/or 32th FRCrP on "

   

UNITED sTATE DISTRIC COUR - WESTER D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:05-CR-20182 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

E. Greg Gilluly

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Honorable Bernice Donald
US DISTRICT COURT

